                        Case 5:23-cr-40008-HLT Document 7 Filed 05/15/23 Page 1 of 1


AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                           District of Kansas
                                                     __________ District of __________

                  United States of America                           )
                             v.                                      )      Case No. 23-cr-40008-HLT
                   William Kevon Elmore, Jr.                         )
                                                                     )
                             Defendant                               )

                                         ORDER SCHEDULING A DETENTION HEARING


          A detention hearing in this case is scheduled as follows:

Place: United States Courthouse                                             Courtroom No.: 404
         444 SE Quincy
         Topeka KS 66683-3589                                               Date and Time: May 18, 2023, at 1:30 p.m.


        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:           05/15/2023                                                                   /s/ Rachel E. Schwartz
                                                                                                 Judge’s signature



                                                                               Rachel E. Schwartz, United States Magistrate Judge
                                                                                              Printed name and title
